Case 1:23-cv-00673-PTG-JFA Document 59 Filed 07/06/23 Page 1 of 2 PageID# 7804




                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


  XYZ CORPORATION,

                Plaintiff,


  v.                                                       Civil Action No. 1:23-cv-00673-PTG-JFA


  THE UNINCORPORATED ASSOCIATIONS
  IDENTIFIED IN SCHEDULE A,

                Defendants.



                       PLAINTIFF’S EX PARTE MOTION TO
                  EXTEND THE TEMPORARY RESTRAINING ORDER

        Plaintiff XYZ Corporation seeks to extend the Temporary Restraining Order (“TRO”)

 granted and entered by the Court on June 8, 2023 [ECF 43] and scheduled to expire on July 6,

 2023, by a period of fourteen (14) days until July 20, 2023. Such application is based upon this

 Motion and the concurrently filed Memorandum of Law.
Case 1:23-cv-00673-PTG-JFA Document 59 Filed 07/06/23 Page 2 of 2 PageID# 7805




  Date: July 6, 2023               Respectfully submitted,

                                   /s/ Monica Riva Talley
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